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AO 458 (Rev. 06/09) Appearance of Counsel


                                     UNITED STATES DISTRICT COURT
                                                            for the
                                                  DistrictDistrict
                                             __________    of Columbia
                                                                   of __________


             Committee on Ways and Means                       )
                             Plaintiff                         )
                                v.                             )      Case No. 1:19-cv-01974
        United States Department of the Treasury               )
                            Defendant                          )

                                              APPEARANCE OF COUNSEL

To:       The clerk of court and all parties of record

          I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

         Constitutional Law Scholars                                                                                   .


Date:          11/01/2019                                                                 /s/Deepak Gupta
                                                                                         Attorney’s signature


                                                                             Deepak Gupta (DC bar number 495451)
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